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 5 Facsimile: (408) 279-2299

 6 Attorneys for Plaintiff
   Michelle Amos
 7

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 9
                                  UNITED STATES DISTRICT COURT
10
                  NORTHERN DISTRICT OF CALIFORNIA — SAN JOSE DIVISION
11

12
     MICHELLE AMOS,                                    Federal Case No.: 5:17-cv-04093-BLF
13
                   Plaintiff,
14                                                     STIPULATED REQUEST FOR
            vs.                                        DISMISSAL OF DEFENDANT
15                                                     EXPERIAN INFORMATION
   EXPERIAN INFORMATION SOLUTIONS,                     SOLUTIONS, INC.; [PROPOSED] ORDER
16 INC.; et. al.,

17                 Defendants.

18

19 TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

20          IT IS HEREBY STIPULATED by and between plaintiff Michelle Amos and defendant

21 Experian Information Solutions, Inc., that Experian Information Solutions, Inc. be dismissed from

22 this action with prejudice pursuant to Federal Rules of Civil Procedure, section 41(a)(2), and that

23 each party shall bear its own attorneys’ fees and costs.

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                                                      1
     STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                      [PROPOSED] ORDER
         Case 5:17-cv-04093-BLF Document 52 Filed 10/01/18 Page 2 of 2




 1 DATED: September 26, 2018                    Sagaria Law, P.C.

 2                                              By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4                                              Michelle Amos
 5
     DATED: September 26, 2017                  Jones Day
 6

 7

 8                                              By:          /s/ Donna Woo
                                                                      Donna Woo
 9
                                                Attorneys for Defendant
10                                              Experian Information Solutions, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Donna Woo has concurred in this filing.
13
     /s/ Elliot Gale
14

15
                                               [PROPOSED] ORDER
16
             Pursuant to the stipulation of the Parties, Experian Information Solutions, Inc. is dismissed
17
     with prejudice and each party is to bear its own attorneys’ fees and costs.
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             IT IS SO ORDERED.
19

20
     DATED: 2FWREHU
21                                                 BETH L. FREEMAN
                                                   UNITED STATES DISTRICT JUDGE
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                                                        2
      STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                       [PROPOSED] ORDER
